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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
   IN RE: AUTOMOTIVE PARTS                       Master File No. 12-md-02311
   ANTITRUST LITIGATION

                                                 Hon. Sean F. Cox
                                                 Mag. Judge R. Steven Whalen

   THIS DOCUMENT RELATES TO:

   ALL END-PAYOR ACTIONS


                   INDEX OF EXHIBITS TO
   FINANCIAL RECOVERY SERVICES, LLC’S MOTION TO INTERVENE


   Exhibit 1:   Declaration of Jeffrey N. Leibell, dated June 18, 2020

                Exhibit A: Letter Brief from Financial Recovery Strategies (“FRS”)
                           to Hon. Marianne O. Battani, submitted December 13,
                           2019

                Exhibit B: Reply Letter Brief from FRS to Hon. Marianne O.
                           Battani, submitted January 30, 2020

                Exhibit C: Email from Robin Niemiec to Adam J. Zapala, Marc M.
                           Seltzer, and Hollis Salzman, dated November 14, 2018

                Exhibit D: Email from Robin Niemiec to William V. Reiss,
                           attaching FRS research memorandum, dated January 14,
                           2019

                Exhibit E:   Email from Jeffrey N. Leibell to Marc M. Seltzer and
                             William V. Reiss, attaching a draft letter brief from FRS
                             to Hon. Marianne O. Battani, dated October 24, 2019
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                Exhibit F:   Email from Chanler A. Langham to Jeffrey N. Leibell,
                             attaching letter from Adam J. Zapala, Hollis Salzman,
                             and Marc M. Seltzer to Jeffrey N. Leibell, dated
                             November 2, 2019

                Exhibit G: Email from Chanler A. Langham to Jeffrey N. Leibell,
                           Adam Zapala, Hollis Salzman, Marc Seltzer, and Richard
                           A. Wojtczak, attaching proposed stipulation, dated
                           November 26, 2019

                Exhibit H: Email from Jeffrey N. Leibell to Chanler Langham,
                           attaching letter from Jeffrey N. Leibell to GCG,
                           Settlement Administrator, dated March 10, 2020

                Exhibit I:   Email from Angela Rivera to Claims Administrator,
                             dated June 18, 2020

   Exhibit 2:   Declaration of Randi E. Alarcon, dated June 18, 2020

   Exhibit 3:   GEICO Corp. v. Autoliv, Inc., 345 F. Supp. 3d 799 (E.D. Mich. 2018)

   Exhibit 4:   Mich. State AFL-CIO v. Miller, 103 F.3d 1240 (6th Cir. 1997)

   Exhibit 5:   Maricco v. Meco Corp., 316 F. Supp. 2d 524 (E.D. Mich. 2004)




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